Case 1:19-cv-24184-MGC Document 22-1 Entered on FLSD Docket 01/17/2020 Page 1 of 18




                           Exhibit A
Case 1:19-cv-24184-MGC Document 22-1 Entered on FLSD Docket 01/17/2020 Page 2 of 18
Case 1:19-cv-24184-MGC Document 22-1 Entered on FLSD Docket 01/17/2020 Page 3 of 18
Case 1:19-cv-24184-MGC Document 22-1 Entered on FLSD Docket 01/17/2020 Page 4 of 18
Case 1:19-cv-24184-MGC Document 22-1 Entered on FLSD Docket 01/17/2020 Page 5 of 18
Case 1:19-cv-24184-MGC Document 22-1 Entered on FLSD Docket 01/17/2020 Page 6 of 18
Case 1:19-cv-24184-MGC Document 22-1 Entered on FLSD Docket 01/17/2020 Page 7 of 18
Case 1:19-cv-24184-MGC Document 22-1 Entered on FLSD Docket 01/17/2020 Page 8 of 18
Case 1:19-cv-24184-MGC Document 22-1 Entered on FLSD Docket 01/17/2020 Page 9 of 18
Case 1:19-cv-24184-MGC Document 22-1 Entered on FLSD Docket 01/17/2020 Page 10 of 18
Case 1:19-cv-24184-MGC Document 22-1 Entered on FLSD Docket 01/17/2020 Page 11 of 18
Case 1:19-cv-24184-MGC Document 22-1 Entered on FLSD Docket 01/17/2020 Page 12 of 18
Case 1:19-cv-24184-MGC Document 22-1 Entered on FLSD Docket 01/17/2020 Page 13 of 18
Case 1:19-cv-24184-MGC Document 22-1 Entered on FLSD Docket 01/17/2020 Page 14 of 18
Case 1:19-cv-24184-MGC Document 22-1 Entered on FLSD Docket 01/17/2020 Page 15 of 18
Case 1:19-cv-24184-MGC Document 22-1 Entered on FLSD Docket 01/17/2020 Page 16 of 18
Case 1:19-cv-24184-MGC Document 22-1 Entered on FLSD Docket 01/17/2020 Page 17 of 18
Case 1:19-cv-24184-MGC Document 22-1 Entered on FLSD Docket 01/17/2020 Page 18 of 18
